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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,                            :           CIVIL ACTION
         Petitioner,                             :
                                                 :
       v.                                        :           NO.    20-cv-2675
                                                 :
KENNETH EASON, et al.,                           :
         Respondents.                            :


                                           ORDER

       AND NOW, this           day of                , 20__, upon careful and independent

consideration of the petition for a writ of habeas corpus filed pursuant to 28 U.S.C. § 2254, and

after review of the Report and Recommendation of United States Magistrate Judge Lynne A.

Sitarski, IT IS ORDERED that:

               1.     The Report and Recommendation is APPROVED and ADOPTED.

               2.     Respondents’ Motion for a Stay and Abeyance (ECF No. 23) is
                      GRANTED.

               3.  The petition for writ of habeas corpus is STAYED and held in
               ABEYANCE parties engage in voluntary open-file discovery.

               4.     Respondents shall notify the District Court within seven days of the
               conclusion of discovery.


                                                     BY THE COURT:



                                                     PETRESE B. TUCKER, J.
